Case 4:23-cv-00542 Document 44-3 Filed on 05/21/24 in TXSD Page1of1

THE STATE OF TEXAS D.A. LOG NUMBER: 3015059
VS. CIS TRACKING NO::
JOHN ZIESEMER spn: 42% 426% BY: KC DA NO: 24066438

DOB: W M 12/01/1967 AGENCY: DAO

DATE PREPARED: 4/24/2024 O/R NO: NS2308

ARREST DATE: TO BE
NCIC CODE: 131302 MA RELATED CASES: POOLE; OSIMINIBEKE; PARKER; MARTIN
MISDEMEANOR CHARGE: Assault oe
CAUSE NO: \$ © ¢ WIS O COURT ORD BAIL: TO BE SET AT
HARRIS COUNTY CRIMINAL COURT AT LAW NO: (¥ MACISTRATY N
FIRST SETTING DATE: _-. PRIOR NO:
SD?
°F

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS: S&S

The duly organized Grand Jury of Harris County, Texas, presents in the County Criminal C it Law of Harris County, Texas, that in Harris
County, Texas, JOHN ZIESEMER, hereafter styled the Defendant, heretofore on or ab vember 25, 2022, did then and there unlawfully,
intentionally and knowingly cause bodily injury to Adael Gonzalez-Garcia, hereina led the Complainant, by throwing the Complainant

to the ground. &
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APR 239 1
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Foreman 180th

AGAINST THE PEACE AND DIGNITY OF THE STATE. Whe. ‘ g f) 6 °
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FOREMAN OF THE GRAND JURY

INDICTMENT RECORDER'S MEMORANDUM
This instrument is of poor quality
at the time of Imaging.

